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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 19-9292 MRW Date October 19, 2020

 

Title Rosanna Stewart v. International Cosmetics and Perfumes

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER RE: DISMISSAL

The parties filed a notice to dismiss this action. (Docket # 38.) This action is dismissed with
prejudice.

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